Case 1:19-cv-22702-KMW Document 241 Entered on FLSD Docket 07/23/2021 Page 1 of 9




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

     CORI ANN GINSBERG, NOAH
     MALGERI, KALYN WOLF, BILL
     WILSON, SHANNON HOOD, ERIC
     FISHON, and ROBERT MCKEOWN on
     behalf of themselves and all others similarly      CASE NO.: 1:19-CV-22702-KMW
     situated,
                                                        Class Action
           Plaintiffs,

         vs.

     VITAMINS BECAUSE LLC, CT HEALTH
     SOLUTIONS LLC, GMAX CENTRAL
     LLC, ASQUARED BRANDS LLC,
     INSPIRE NOW PTY LTD d/b/a
     BOOSTCEUTICALS, HEALTHY WAY
     RX LLC, KHAKIWARE INC., and JOLLY
     DOLLAR SUPPLY COMPANY, LLC.,

          Defendants.
     ____________________________________
          VITAMINS BECAUSE AND CT HEALTH SOLUTIONS’ ANSWER AND
         AFFIRMATIVE DEFENSES TO INSPIRE NOW’S CROSS CLAIM [Dkt. 230]
          Defendants, Vitamins Because, LLC and CT Health Solutions, LLC (unless otherwise

   noted, collectively “Vitamins Because”), responds to the correspondingly numbered paragraphs of

   Inspire Now’s Cross Claim [Dkt. 230], which begins at numbered page 24.

          1.      Vitamins Because moves to strike this paragraph because it is an improper shotgun

   pleading that does not put Vitamins Because on notice of what allegations are being asserted

   against it. This paragraph also violates Rule 8(d)(1), Fed. R. Civ. P., which requires that each

   allegation be simple, concise and direct.

          2.      Admitted for jurisdictional purposes only.

          3.      Admitted for jurisdictional purposes only.


                                               Page 1 of 9

                                     JOHNSON DABOLL ANDERSON, PLLC
Case 1:19-cv-22702-KMW Document 241 Entered on FLSD Docket 07/23/2021 Page 2 of 9




          4.      Without knowledge and, therefore, denied.

          5.      Admitted Inspire Now purchased some SAMe product from Vitamins Because.

   Vitamins Because is unable to admit or deny the remaining allegations in this paragraph because

   (1) they are too vague and (2) Inspire Now failed to attach copies of the alleged agreements to the

   cross claim.

          6.      Admitted Inspire Now purchased some SAMe product from Vitamins Because.

   Vitamins Because is unable to admit or deny the remaining allegations in this paragraph because

   (1) they are too vague, (2) Inspire Now failed to attach copies of the alleged agreements to the

   Cross Claim, and (3) Vitamins Because is without knowledge of what Inspire Now did with the

   SAMe product it purchased from Vitamins Because.

          7.      Admitted Inspire Now purchased some SAMe product from Vitamins Because.

   Vitamins Because is unable to admit or deny the remaining allegations in this paragraph because

   (1) they are too vague, (2) Inspire Now failed to attach copies of the alleged agreements to the

   Cross Claim, and (3) Vitamins Because is without knowledge of what Inspire Now did with the

   SAMe product it purchased from Vitamins Because.

          8.      Denied.

          9.      Denied.

          10.     Denied.

          11.     Denied.

          12.     Admitted Inspire Now purchased some SAMe product from Vitamins Because.

   Vitamins Because is unable to admit or deny the remaining allegations in this paragraph because

   (1) they are too vague, (2) Inspire Now failed to attach copies of the alleged agreements to the




                                               Page 2 of 9

                                     JOHNSON DABOLL ANDERSON, PLLC
Case 1:19-cv-22702-KMW Document 241 Entered on FLSD Docket 07/23/2021 Page 3 of 9




   Cross Claim, and (3) Vitamins Because is without knowledge of what Inspire Now did with the

   SAMe product it purchased from Vitamins Because.

          13.     Denied.

          14.     Denied.

          15.     Denied.

          16.     Without knowledge and, therefore, denied.

          17.     Denied.

          18.     Denied.

          19.     Denied.

          20.     Denied.

          21.     Denied.

                               COUNT I – BREACH OF CONTRACT

          22.     The allegations in this paragraph represent the bare legal conclusions of the pleader

   to which a response is not required.

          23.     Vitamins Because moves to strike this paragraph because it is an improper shotgun

   pleading that does not put Vitamins Because on notice of what allegations are being asserted

   against it. This paragraph also violates Rule 8(d)(1), Fed. R. Civ. P., which requires that each

   allegation be simple, concise and direct.

          24.     Admitted Inspire Now purchased some SAMe product from Vitamins Because.

   Vitamins Because is unable to admit or deny the remaining allegations in this paragraph because

   (1) they are too vague, (2) Inspire Now failed to attach copies of the alleged contracts to the Cross

   Claim, and (3) Vitamins Because is without knowledge of what Inspire Now did with the SAMe

   product it purchased from Vitamins Because.


                                                Page 3 of 9

                                      JOHNSON DABOLL ANDERSON, PLLC
Case 1:19-cv-22702-KMW Document 241 Entered on FLSD Docket 07/23/2021 Page 4 of 9




          25.     Denied.

          26.     Denied.

          27.     Denied.

          28.     Denied.

          29.     Denied.

          30.     Denied.

                       COUNT II – COMMON LAW INDEMNIFICATION

          31.     The allegations in this paragraph represent the bare legal conclusions of the pleader

   to which a response is not required.

          32.     Vitamins Because moves to strike this paragraph because it is an improper shotgun

   pleading that does not put Vitamins Because on notice of what allegations are being asserted

   against it. This paragraph also violates Rule 8(d)(1), Fed. R. Civ. P., which requires that each

   allegation be simple, concise and direct.

          33.     Admitted Inspire Now purchased some SAMe product from Vitamins Because.

   Vitamins Because is unable to admit or deny the remaining allegations in this paragraph because

   (1) they are too vague, (2) Inspire Now failed to attach copies of the alleged contracts to the Cross

   Claim, and (3) Vitamins Because is without knowledge of what Inspire Now did with the SAMe

   product it purchased from Vitamins Because.

          34.     Admitted Inspire Now purchased some SAMe product from Vitamins Because.

   Vitamins Because is unable to admit or deny the remaining allegations in this paragraph because

   (1) they are too vague, (2) Inspire Now failed to attach copies of the alleged contracts to the Cross

   Claim, and (3) Vitamins Because is without knowledge of what Inspire Now did with the SAMe

   product it purchased from Vitamins Because.


                                                Page 4 of 9

                                      JOHNSON DABOLL ANDERSON, PLLC
Case 1:19-cv-22702-KMW Document 241 Entered on FLSD Docket 07/23/2021 Page 5 of 9




          35.     Denied.

          36.     Denied.

          37.     Denied.

          38.     Denied.

          39.     Denied.

          40.     Denied.

          41.     Denied.

          42.     Denied.

          43.     Denied.

                                     COUNT 3: NEGLIGENCE

          44.     The allegations in this paragraph represent the bare legal conclusions of the pleader

   to which a response is not required.

          45.     Vitamins Because moves to strike this paragraph because it is an improper shotgun

   pleading that does not put Vitamins Because on notice of what allegations are being asserted

   against it. This paragraph also violates Rule 8(d)(1), Fed. R. Civ. P., which requires that each

   allegation be simple, concise and direct.

          46.     Denied. Vitamins Because did not, and does not, have any common law duty to

   manufacture or label any product for Inspire Now.

          47.     Denied.

          48.     Denied.

                                    AFFIRMATIVE DEFENSES

                                          First Affirmative Defense

          Inspire Now’s cross claim fails to state a claim upon which relief can be granted.


                                                 Page 5 of 9

                                     JOHNSON DABOLL ANDERSON, PLLC
Case 1:19-cv-22702-KMW Document 241 Entered on FLSD Docket 07/23/2021 Page 6 of 9




                                      Second Affirmative Defense

          Inspire Now is not wholly without fault and, therefore, its indemnification claim fails as a

   matter of law.

                                       Third Affirmative Defense

          Inspire Now’s claim for common law indemnification and negligence are barred by the

   economic loss rule.

                                       Fourth Affirmative Defense

          Inspire Now’s claim for contractual indemnification fails because it fails to state a cause of

   action upon which relief can be granted because Inspire Now failed to attach a copy or copies of

   the alleged agreements to its cross claim, and because there is no agreement between the parties

   that requires Vitamins Because to indemnify Inspire Now.

                                        Fifth Affirmative Defense

          Inspire Now’s claim for negligence fails to state a claim upon which relief can be granted

   because Vitamins Because did not, and does not, owe any common law duties to Inspire Now with

   regard to any of the issues raised in its cross claim. Vitamins Because’s duties, if any, to Inspire

   Now arise solely from, and are limited to, the specific duties agreed to by the parties in their

   contractual relationship. Inspire Now is improperly attempting through its negligence cause of

   action to expand, change, modify or create obligations that the parties did not agree to or bargain

   for.

          WHEREFORE, Vitamins Because demands judgment in its favor on all claims asserted by

   Inspire Now and respectfully requests that this Honorable Court award Vitamins Because its costs

   and attorneys’ fees after entitlement to same is established.




                                                Page 6 of 9

                                      JOHNSON DABOLL ANDERSON, PLLC
Case 1:19-cv-22702-KMW Document 241 Entered on FLSD Docket 07/23/2021 Page 7 of 9




                                        Demand for Jury Trial

          Vitamins Because demands a trial by jury on all issues so triable.


   Dated: July 23, 2021                          Respectfully submitted,

                                                 /s/David S. Johnson
                                                 David S. Johnson     FBN 096423
                                                 Scott W. Anderson    FBN 738311
                                                 JOHNSON DABOLL ANDERSON, PLLC
                                                 2011 W Cleveland Street, Suite F
                                                 Tampa, Florida 33606
                                                 Telephone: (813) 377-2499
                                                 Fax: (813) 330-3156
                                                 djohnson@jdalegal.com
                                                 sanderson@jdalegal.com
                                                 aglisson@jdalegal.com

                                                 Counsel for Vitamins Because and CT
                                                 Health Solutions


                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 23rd day of July, 2021 I electronically filed the foregoing

   with the Clerk of Court using the CM/ECF system, which will send a notification of this filing to

   the following counsel of record on the attached service list.

                                                     /s/David S. Johnson




                                                Page 7 of 9

                                     JOHNSON DABOLL ANDERSON, PLLC
Case 1:19-cv-22702-KMW Document 241 Entered on FLSD Docket 07/23/2021 Page 8 of 9




                                         SERVICE LIST

   Tod Aronovitz (FBN 186430)                               Brendan H. Little
   Barbara Perez (FBN 989304)                               LIPPES MATHIAS WEXLER
   ARONOVITZ LAW                                            FRIEDMAN, LLP
   2 South Biscayne Boulevard                               50 Fountain Plaza, Suite 1700
   One Biscayne Tower                                       Buffalo, NY 14202
   Suite 3700                                               Tel: 716-853-5100
   Miami, FL 33131                                          blittle@lippes.com
   Tel: 305-372-2772 Fax: 305-397-1886
   ta@aronovitzlaw.com                                      Alessandro A. Apolito
   bp@aronovitzlaw.com                                      LIPPES MATHIAS WEXLER
   Attorneys for Plaintiffs                                 FRIEDMAN, LLP
                                                            822 US Highway A1A, Suite 101
   Jay I. Brody (Admitted Pro Hac Vice )                    Ponte Vedra Beach, FL 32082
   Gary S. Graifman (Admitted Pro Hac Vice)                 Tel: 904-660-0020
   KANTROWITZ, GOLDHAMER &                                  aapolito@lippes.com
   GRAIFMAN, P.C.                                           Attorneys for ASquared Brands
   747 Chestnut Ridge Road Chestnut Ridge
   New York 10977                                           Leon N. Patricios (FBN 0012777)
   Tel: 845-356-2570                                        ZIMPANO PATRICIOS, P.A.
   ggraifman@kgglaw.com                                     312 Minorca Ave.
   jbrody@kgglaw.com                                        Coral Gables, FL 33134
   Attorneys for Plaintiffs                                 Tel: 305-444-5565
                                                            Fax: 305-444-8588
   Nicholas A. Migliaccio                                   lpatricios@zplaw.com
   Jason S. Rathod                                          jzumpano@zplaw.com
   MIGLIACCIO & RATHOD LLP
   412 H Street N.E., Ste. 302                              Richard J. Oparil (admitted pro hac
   Washington, DC 20002                                     vice)
   Tel: 202-470-3520                                        ARNALL GOLDEN GREGORY
   nmigliaccio@classlawdc.com                               1775 Pennsylvania Ave., NW
   Attorneys for Plaintiffs                                 Suite 1000
                                                            Washington, DC 20006
   Joseph A. Sorce                                          T: 202-677-4030
   JOSEPH A. SORCE & ASSOCS., P.A.                          Richard.oparil@agg.com
   999 Ponce de Leon Blvd., Suite 1020                      Attorneys for GMAX Central, LLC
   Coral Gables, FL 33134
   Tel: 305-529-8544                                        Mark Migdal & Hayden
   jsorce@flconstructionlawyer.com                          Yaniv Adar
   Attorney for Defendants Khakiware, Inc.                  Joshua A. Migdal
   and Healthy Way RX, LLC                                  80 S.W. 8th Street
   jsorce@flconstructionlawyer.com                          Suite 1999
                                              Page 8 of 9

                                   JOHNSON DABOLL ANDERSON, PLLC
Case 1:19-cv-22702-KMW Document 241 Entered on FLSD Docket 07/23/2021 Page 9 of 9




                                                              Miami, FL 33130
   Bretton I Pollack                                          Tel: 305-374-0440
   Pollack, Pollack & Kogan, LLC                              yaniv@markmigdal.com
   Courthouse Tower                                           josh@markmigdal.com
   44 W Flagler Street, Suite 2050                            eservice@markmigdal.com
   Miami, FL 33130                                            Attorneys for Jolly Dollar Supply
   Tel: 305-373-9676                                          Company
   Brett.pollack@ppkfirm.com
   admin@ppkfirm.com
   Attorneys for Inspire Now




                                              Page 9 of 9

                                     JOHNSON DABOLL ANDERSON, PLLC
